            Case 3:18-cr-30051-MGM Document 32 Filed 12/21/18 Page 1 of 7



                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )       Criminal No. 18-cr-30051-MGM
                                              )
(1) GREGG A. BIGDA and                        )
(2) STEVEN M. VIGNEAULT,                      )
            Defendants.                       )

                GOVERNMENT’S MOTION FOR A PROTECTIVE ORDER
                    AS TO DEFENDANT STEVEN M. VIGNEAULT

       The United States of America, by Andrew E. Lelling, United States Attorney, hereby

moves for the entry of the attached protective order. On December 10, 2018, the Court ordered

the proposed protective order as stipulated by the government and defendant Gregg A. Bigda

(“Bigda”) (Doc. No. 29). Because the protective order is narrowly tailored and places no

restrictions on the defendants’ access to discovery materials, and because good cause exists to

restrict public disclosure of sensitive information and dissemination of discovery materials to

unauthorized third-parties, the government respectfully requests that the Court order the attached

proposed protective order as to defendant Steven M. Vigneault (“Vigneault”), which is identical

to the protective order granted by the Court with respect to defendant Bigda. The parties have

conferred regarding the proposed protective order, and defendant Vigneault opposes it.

       The government’s proposed protective order seeks to: (1) bar counsel from disclosing

discovery materials to non-authorized third parties; and (2) require the parties to protect sensitive

discovery materials and information, including personally identifiable information (“PII”),

information related to juvenile victims and civilian witnesses, phone and text message

communications of witnesses, personnel files, grand jury materials, medical records, and records


                                                  1
          Case 3:18-cr-30051-MGM Document 32 Filed 12/21/18 Page 2 of 7



related to the Massachusetts Civil Service Exam. The proposed protective order places no

restrictions on the defendant’s and his defense team’s access to or possession of any discovery

materials.

        Federal Rule of Criminal Procedure 16(d)(1) allows for a district court to enter a protective

order like the proposed by the government “for good cause.” United States v. Bulger, 283 F.R.D.

46 (D. Mass. 2012). Good cause must be based on a factual demonstration of potential harm.

Anderson v. Cryovac, 805 F.2d 1, 7 (1st Cir. 1986). There is no presumption of public access to

discovery materials. The United States Supreme Court has stated that discovery is “a matter of

legislative grace” and not “a traditionally public source of information,” and that control over the

process “does not raise the same specter of government censorship that such control might suggest

in other situations.” Seattle Times Co. v. Rhinehart, 467 U.S. 20, 32-33 (1984); see also Anderson,

805 F.2d at 6 (“Seattle Times has foreclosed any claim of an absolute public right of access to

discovery materials.”).    Therefore, “judicial limitations on a party’s ability to disseminate

information discovered in advance of trial implicates the First Amendment rights of the restricted

party to a far lesser extent than would restraints on dissemination of information in a different

context.” Id. at 34.

        The government respectfully submits that good cause supports the entry of a protective

order in this case for several reasons. First, the provisions of the proposed protective order barring

counsel from leaking discovery materials to non-authorized third parties protects each defendant’s

Sixth Amendment right to a fair trial untainted by prejudicial pretrial publicity. That concern is

not speculative or hypothetical in this case; media outlets, most prominently the Springfield

Republican, have written several dozens of articles covering this case, many of which include case


                                                  2
         Case 3:18-cr-30051-MGM Document 32 Filed 12/21/18 Page 3 of 7



evidence.

       The First Circuit has upheld a protective order restricting the dissemination of discovery

materials to third parties for the same reasons present in the instant case. In Anderson, the First

Circuit found that good cause for a protective order was present where “the district court was

concerned that the extensive publicity generated by the allegations made against the defendants,

particularly the accounts appearing in the daily newspapers, would inhibit and perhaps prevent the

selection of an impartial jury.” Anderson, 805 F.2d at 8. Similarly, the First Circuit has sustained

a district court’s order prohibiting disclosure of deposition contents to the press or public, finding

that “the massive amount of publicity” and “the emotionally-charged nature of the trial” were

reasonably likely to cause “material harm to the defendants’ right to a fair trial.” In re San Juan

Star Co., 662 F.2d 108, 117 (1st Cir.1981).

       There is a real danger that one defense attorney’s dissemination of discovery materials

favorable to his client and unfavorable to his co-defendant will contaminate the jury pool and

prejudice the co-defendant’s right to a fair trial. Furthermore, the government has information that

counsel for defendant Vigneault has sent via e-mail grand jury materials produced in this case to

counsel in a civil matter, apparently with the motive of having the materials published on

masslive.com (“Masslive”). See Exhibit 1, filed under seal. Masslive published an article

regarding the dissemination of the grand jury material on December 19, 2018, and as of the time

of this filing just two days later, the article has received 52 comments. See Glaun, Dan, “Questions

raised about 5 Springfield narcotics officers could jeopardize drug prosecutions,” available at

https://www.masslive.com/news/2018/12/questions-raised-about-5-springfield-narcotics-

officers-could-jeopardize-drug-prosecutions.html, last visited Dec. 21, 2018. This case should be


                                                  3
         Case 3:18-cr-30051-MGM Document 32 Filed 12/21/18 Page 4 of 7



tried in a court of law, where the parties are afforded protections of the Federal Rules of Evidence

and a fair and impartial jury, and not in the court of public opinion.

       Second, the proposed protective order seeks to protect certain sensitive information. The

provisions requiring counsel to redact certain sensitive information or include it in a pleading filed

under seal furthers a number of important interests.        It is widely understood that personal

identifying information of civilian witnesses and victims, especially juvenile victims, should be

shielded from public view. Additionally, discovery will include private medical and psychiatric

records of several individuals, including the juvenile victims and the defendants, which the Court

should afford special protection. See Bulger, 283 F.R.D. at 55; United States v. Robinson, Cr. No.

08-10309, 2009 WL 137319, at *3 (D. Mass. Jan. 20, 2009) (recognizing importance of privacy

interests of victims). Discovery will also include Massachusetts Civil Service Exam questions and

answers, which, the government has been informed, took a considerable amount of time and money

to produce. If those questions and answers were distributed to non-authorized third-parties or

published in public pleadings, the Massachusetts state government would be forced to write and

pay for a new exam.

       The Court should also protect private text messages of witnesses who did not choose to

become involved in this case but nevertheless complied with FBI requests for their text message

records. See Bulger, 283 F.R.D. at 55; United States v. Salemme, 985 F. Supp. 193, 197 (D. Mass.

1997) (“privacy interests of third parties may weigh heavily in deciding issues of impoundment”);

United States v. Carriles, 654 F. Supp. 2d 557, 566 (W.D. Tex. 2009) (government may advocate

for privacy interest of nonparties in seeking protective order).

       The protective order also seeks to protect certain grand jury materials. Several witnesses


                                                  4
         Case 3:18-cr-30051-MGM Document 32 Filed 12/21/18 Page 5 of 7



who testified before the grand jury have expressed concerns that they will be retaliated against,

professionally or personally, if their grand jury testimony becomes public well in advance of trial.

Their concerns are not hypothetical; several government witnesses have informed the government

that they have already been harassed by law enforcement officers in connection with their

testimony. On the date of arraignment, as a show of good faith, the government provided counsel

for each defendant with initial discovery including grand jury material so that defense counsel

could begin preparing their defenses, with the understanding that the parties would at some later

point come to agreement on a protective order. The government and defendant Bigda agreed upon

and the Court ordered a protective order on December 10, 2018 (Doc. No. 29), and the government

has produced further documents to defendant Bigda pursuant to the protective order.

       Counsel for defendant Vigneault has not agreed to the entry of any protective order, and

has represented via e-mail that he had already “disseminated” portions of the initial discovery

packet to third parties. As a result of Vigneault’s counsel’s dissemination of discovery materials,

the Springfield Police Department has disciplined an officer who cooperated with the

government’s investigation and provided inculpatory evidence against defendant Vigneault.

Counsel for Defendant Vigneault has further represented to the government that his client has been

“vilified” in the media, and that he has an obligation to defend his client, implying that his ultimate

purpose for dissemination was to release to the media damaging information about witnesses who

may testify against his client. The government is concerned that the actions of counsel for

Defendant Vigneault will have the tendency to chill the cooperation of government witnesses and

deter potential government witnesses from providing truthful testimony.

       Finally, the government seeks a protective order in order to facilitate the flow of discovery.


                                                  5
         Case 3:18-cr-30051-MGM Document 32 Filed 12/21/18 Page 6 of 7



Discovery in this case is voluminous, and the government could produce discovery more easily if

it could rely on a protective order. See Public Citizen v. Liggett Group, Inc. 858 F. 2d 775, 788

(1st Cir. 1988) (“blanket protective orders may be useful in expediting the flow of discovery”).

       For the foregoing reasons, the government respectfully requests that the Court grant the

government’s motion and enter the attached protective order.

                                                     Respectfully submitted,

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                                                6
         Case 3:18-cr-30051-MGM Document 32 Filed 12/21/18 Page 7 of 7



                                 CERTIFICATE OF SERVICE

                                      December 21, 2018

        I hereby certify that this document was filed through the ECF system, which will provide
electronic notice to counsel as identified on the Notice of Electronic Filing.

                                                    /s/ Deepika Bains Shukla
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                                               7
